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7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR No. S-96-350-WBS
12                    Plaintiff, )
                                  )
13                v.              ) STIPULATION AND ORDER TO CONTINUE
                                  ) JUDGMENT AND SENTENCING
14   HUY CHI LUONG,               )
                                  ) Date: April 23, 2007
15                    Defendant. ) Time: 8:30 A.M.
     _____________________________) Courtroom: Hon. William B. Shubb
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason S. Hitt, Assistant
20   United States Attorneys; and defendant Huy Chi Luong, through his
21   counsel of record, John Balazs, Esq.; hereby stipulate and agree to
22   reschedule the sentencing in this matter set for April 02, 2007, at
23   8:30 a.m. to April 23, 2007, at 8:30 a.m.
24        In light of the recent Ninth Circuit decision in the Northern
25   District of California wherein defendant Huy Chi Luong<s 25 years
26   sentence has been set aside, the effect of that decision will
27   clearly impact the issues relevant to the sentencing in this matter.
28   An amended presentence report has been prepared.        Furthermore,

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1    counsel for the government will be out-of-state for a brief period
2    of time.   The government needs additional time to file its
3    objections and also to file a sentencing memorandum.         Accordingly,
4    the parties stipulate that the sentencing in this matter be
5    continued to April 23, 2007, at 8:30 a.m.         Furthermore, should
6    additional time be necessary for the probation office to prepare a
7    new presentence report, a further continuance may be necessary.
8                                               Respectfully submitted,
9                                               McGREGOR W. SCOTT
                                                United States Attorney
10
11   DATED: March 29, 2007            By:        /s/ William S. Wong
                                                WILLIAM S. WONG and
12
13   DATED: March 29, 2007            By:        /s/ Jason Hitt
                                                JASON HITT
14                                              Assistant U.S. Attorneys
                                                Attorneys for Plaintiff
15
16   DATED: March 29, 2007            By: /s/ William S. Wong authorized by
                                              phone
17                                         JOHN BALAZS, ESQ., Attorney
                                           for Defendant Huy Chi Luong
18
     ________________________________________________________________
19
20                                      ORDER
21        For the reasons set forth above, the sentencing in this matter
22   is rescheduled for April 23, 2007, at 8:30 a.m.
23        IT IS SO ORDERED.
24   DATED:   April 2, 2007
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